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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
         Plaintiff,                                       MEMORANDUM DECISION AND
                                                          ORDER OVERRULING
                                                          DEFENDANT’S OBJECTIONS TO
                                                          ORDER TO CONTINUE


                 vs.


 CEDRIC DUANE BURKS,                                      Case No. 2:07-CR-173 TS
         Defendant.




       This matter is before the Court on Defendant’s objections to the exclusion of time under

the Speedy Trial Act contained in the Court’s February 25, 2010 Order to Continue. For the

reasons below the Court will overrule the objection.

       On January 14, 2010, Defendant was scheduled to enter a change of plea. However, a

few days before that hearing he notified the Court he would not be entering a plea and planned to

go to trial. As the trial was originally set for January 19, 2010, and the parties had not

anticipated a trial, and were thus not prepared, the Court moved the trial date to April 26, 2010.

The government also indicated its intent to file a Superceding Indictment, which was filed on

January 26, 2010. The government then submitted a Motion to Continue the trial until that date

and included the exclusion of speedy trial time from the January 14, 2010 hearing until the April

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26, 2010 trial date. The Court granted the Motion and excluded the time based on its findings

that continuance was necessary in light of the relevant factors. Defendant objects to the

exclusion of time based on the superceding indictment.

       Defendant argues that pursuant to 18 U.S.C. 3161(c)(1) and (d)(1) the speedy trial clock

runs anew upon the filing of a Superceding Indictment. “Under § 3161(d)(1), if an indictment is

dismissed upon motion of the defendant and he is subsequently re-indicted with the same

offense, the new indictment begins a new seventy-day period.”1 However, if it is the government

who moves to dismiss the indictment and subsequently re-files a second indictment alleging the

same charges, the government does not get a new seventy-day clock.2

       As a general rule, new Speedy Trial Act periods begin to run with respect to an
       information or indictment adding a new charge not required to be brought in the
       original indictment. However, when the later charge is merely a part of or only
       ‘gilds’ the initial charge, the subsequent charge is subject to the same Speedy
       Trial Act limitations imposed on the earlier indictment.3


       In this case the government did not move to dismiss the Indictment, rather, when

Defendant failed to enter a plea, it filed a Superceding Indictment with additional charges.4 The

original Indictment charged Defendant with a violation of 18 U.S.C. § 1343, scheme and artifice

to defraud.5 Specifically, it was alleged that as part of the scheme vehicles were stolen from



       1
        United States v. Abdush-Shakur, 465 F.3d 458, 462-63 n.4 (10th Cir. 2006) (citing §
3161(c)(1), United States v. Andrews, 790 F.2d 803, 809 n.4 (10th Cir. 1986)).
       2
           Id.
       3
           United States v. Andrews, 790 F.2d 803, 808-09 (10th Cir. 1986).
       4
           See Docket No. 405.
       5
           Docket No. 7.

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owners in Las Vegas, Nevada, by use of keys cut from codes fraudulently obtained from

dealerships.6 Further it was specifically alleged that the codes were obtained through Defendant.7

In the Second Superceding Indictment the government charges him with two Counts, both

dealing with a specific car and VIN number. The first count alleges Defendant transported the

car, knowing it to be stolen, in interstate commerce, in violation of 18 U.S.C. § 2312 and 18

U.S.C. § 2. The second count deals with the same car and VIN number but alleges Defendant

received, possessed, concealed and stored the vehicle, knowing it to be stolen in violation of 18

U.S.C. § 2313 and 18 U.S.C. § 2. The Court finds that the Superceding Indictment only clarifies

and specifies allegations made in the original indictment. Therefore, it finds it is part of the

original charge. Accordingly, since the Superceding Indictment was filed on the governments’

own volition and is a part of the additional charge, the Court finds a new speedy trial clock did

not begin with superceding indictment and exclusion of speedy trial time was appropriate.

       However, even if the Superceding Indictment did renew the speedy trial clock, the Court

finds no reason why the exclusion of time as ordered is improper because the parties were not

prepared to go to trial. Therefore, Defendant’s objection will be overruled.

       It is hereby




       6
           Id. at 5.
       7
           Id.

                                                  3
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     ORDERED that Defendant’s Objection to the Order to Continue (Docket No. 419) is

OVERRULED.

     DATED March 4, 2010.

                                       BY THE COURT:


                                       _____________________________________
                                       TED STEWART
                                       United States District Judge




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